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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA


In re: Oil Spill by the Oil Rig                   *        MDL No. 2179
“Deepwater Horizon” in the Gulf                   *
of Mexico, on April 20, 2010                      *        SECTION “J”
                                                  *
This Document Relates to:                         *        JUDGE BARBIER
MDL No. 2179; No. 10-4536                         *
                                                  *         MAGISTRATE NO. 1
                                                  *         MAGISTRATE SHUSHAN
*     *        *   *   *   *    *   *   *   *   * *

                                            ORDER

          Upon consideration of the Ex Parte Motion of the Anadarko Defendants for

Leave to File Memorandum in Response to the United States’ Motion for Entry of

Consent Decree, and good cause being shown, the Motion is hereby GRANTED.

          IT IS FURTHER ORDERED THAT, leave is granted to file the proposed

memorandum to the Anadarko Defendants’ Motion, and the memorandum shall be

entered on the docket.



New Orleans, Louisiana, this ___ day of _______, 2012.



                                                ____________________________________
                                                UNITED STATES DISTRICT JUDGE




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